WELTMAN# 040125170

UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF NEW MEXICO

 

 

In Re: Marie J. Holguin Case No. 15-11410 J7
Chapter 7
Debtor, Hon. Robert H. Jacobvitz
Marie J. Holguin
Adv. No. 18-01042-j
Plaintiff,
v.
National Collegiate Student Lorust 2006-2,
A Delaware Statutory Trust
Defendant,
/
AFFIDAVIT OF BRADLEY LUKE
STATE OF GEORGIA )
)
COUNTY OF GWINNETT )

PERSONALLY APPEARED before me, the undersigned Bradley Luke, who being duly

sworn according to law, deposes and says on oath as follows:

1. My name is Bradley Luke. I am over eighteen (18) years of age and am
competent to testify to the contents of this Affidavit based upon my personal knowledge of the
facts and circumstances set forth herein. I am employed by Transworld Systems Inc. as the
Director of Operations. In my capacity as Director of Operations, I am duly authorized by

National Collegiate Student Loan Trust 2006-2 (NCSLT) to make the representations contained

in this Affidavit.

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2. TSI has been contracted to perform the duties of Subservicer for NCSLT by U.S
Bank, the Successor Special Servicer for NCSLT. TSI, as the Subservicer of NCSLT, is the
designated Custodian of Records for NCSLT. As Director of Operations for TSI, I have
personal knowledge pertaining to the manner in which records relating to the plaintiff Marie J.
Holguin’s aka Marie J. Gomez’s (“plaintiff”) student loan, Account No. xxxxxxxxx/001-001000
(the “Loan”) was kept by NCSLT and TSI, including, but not necessarily limited to, payments,
credits, interest accrual and any other transactions that could impact Plaintiffs Loan. I have
personal knowledge as to how NCSLT’s records related to plaintiffs’ Loan were created and ]
am familiar with NCSLT’s record keeping systems.

3. Further, I have access to and training on the system of record utilized by TSI and
American Education Services (AES) to enter and maintain loan account records and
documentation concerning plaintiffs’ Loan with NCSLT.

4. I am familiar with the process by which TSI receives prior account records,
including origination records from the time the Loan was requested and/or disbursed to Plaintiff.

5. As custodian of records, it is TSI’s regularly-conducted business practice to
incorporate prior loan records and/or documentation into TSI’s business records.

6. These student loan records are created, compiled and recorded as part of regularly
conducted business activity at or near the time of the event and from information transmitted
from a person with personal knowledge of said event and a business duty to report it, or from
information transmitted by a person with personal knowledge of the accounts or events described
within the business record. Such records are created, kept, maintained, and relied upon in the

course of ordinary and regularly conducted business activity.

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7, I am further competent and authorized to testify regarding plaintiffs’ Loan
through personal knowledge of NCSLT and TSI’s business records, including any electronic data
provided to TSI and incorporated within TSI’s business records that detail plaintiffs’ Loan, and
the business records attached to this Affidavit.

8. TSI maintains plaintiffs’ Loan records in its ordinary course of business.

9. I have personally reviewed NCSLT’s business records relating to plaintiffs’ Loan
and I am familiar with plaintiffs’ Loan at issue in this action. NCSLT’s books and records
contain loan records and information for plaintiffs’ Loan provided to plaintiffs by the Original
Lender referenced below or its assignee. The Exhibits attached to this Affidavit are true and
accurate copies, which were kept in the ordinary course of business and reflect plaintiffs’
NCSLT Loan at issue in this action.

10. The business records furnished by NCSLT show that on July 27, 2005, the
plaintiff executed a Student Loan, Account No. xxxxxxxxx/001-001000 with GMAC Bank
(“GMAC”) as evidenced by the Note Disclosure Statement and Non-Negotiable Credit
Agreement (“Loan”), true and correct copies of which are attached hereto as Exhibits A and A-1.

11. The Loan was made to fund Plaintiff’s tuition and cost of attendance to attend
New Mexico State University for the Academic Period of August 2005 through May 2006 in the
amount of $27,520. . See Ex. A-1. The Loan proceeds were disbursed on or about August 2,
2005. See Ex. A.

12. The loan is an educational loan. See Exhibit A-1; and See Complaint, § 12 & 15

and its Exhibit A. See also Ex. B, p. 24,

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13. The signature page of the Loan was faxed back after signing. See Ex. A-1. The
terms and conditions of the Loan included in Exhibit A-1 were a part of the loan package and
provided to any student applying for a loan under the GMAC Bank Undergraduate Loan
Program, but were not required to be faxed with the signature page. The signature page was also
a part of the loan package. TSI maintains true and correct copies of all applicable terms and
conditions, and the terms and conditions attached in Exhibit A-1 are the true and correct terms
and conditions for the Loan.

14. The Loan is subject to the terms and conditions in Exhibit A-1.

15. | When executing the Loan, Plaintiff certified “I acknowledge that the requested
loan is subject to the limitations on dischargeability in bankruptcy contained in Section 523(a)(8)
of the United States Bankruptcy Code. Specifically, I understand that you have purchased a
guaranty of this loan, and that this loan is guaranteed by The Education Resources Institute, Inc.
(‘TERI’), a non-profit institution.” See Ex. A-1, | L 12.

16. | When executing the Loan, Plaintiff also certified “I understand that I am
responsible for repaying immediately any funds that I receive which are not to be used or not
used for educational expenses related to attendance at the School for the academic period stated.”
See Ex. A-1,9N. Plaintiff did not return any of the Loan proceeds.

17. A true and correct copy of the Loan Financial Activity pages from the pre-default
servicer American Education System’s (AES”) system of record, Compass, which is accessible
to TSI as the post-default servicer of NCSLT loans is attached as Exhibit A-2.

18. A true and correct copy of the post-default Loan Payment History Report is

attached as Exhibit A-3 and shows that as of April 23, 2019, Plaintiff owes NCSLT the sum of

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$36,276.52 for principal, accrued interest and court costs. Plaintiff's last payment on the loan
was October 4, 2011.

19. TERI is a non-profit corporation. See Exhibit A-1, J L. 12; Exhibit B, p. 1, 1;
Exhibit E p.13; Exhibit F, p. 1, 91; Ex. 1,91; Ex. J, 1.

20. TERI guaranteed all Loans made through the GMAC Bank Alternative Loan
Program. A true and correct copy of the Guaranty Agreement between The Education Resources
Institute, Inc. and GMAC Bank is attached as Exhibit B.

21. Plaintiffs Student Loan was made under The GMAC Undergraduate Loan

upper left-hand corner and p. 2, J C 3(a); See also Ex. B pgs. 22 and 24; See also Ex. B, p. 60,
also Ex. D, p. A-1, Schedule A.

22. TERI guaranteed it would purchase defaulted Program loans and pay the holder
the remaining balance of the loans See Exhibit B, Sec. 2.1.

23. The loans held by NCSLT in the trust were securitized and part of the final
securitization package included TERI’s Acknowledgement of Guaranty Agreements and its
Certificate of the Guaranty Agency. See Ex. I & J. They were both signed on June 8, 2006, and

both attach schedules showing the Guaranty includes Plaintiff's Program. See I, p. 4 and See J,

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WEI «0-25, sec. 8. 6.

p. 5.

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25. TERI was paid a guaranty fee from the individual student loans in the Loan
Program. See; Ex. B, p. 31, Sec. Il, C, & p. 89.

26. The business records furnished by NCSLT show that on or about June 8, 2006,
after Plaintiff entered into her Loan, but prior to Plaintiff's last payment on the Loan, GMAC,
First Marblehead Corporation (“FMC”) and National Collegiate Funding LLC (“NCF”) entered
into a Pool Supplement wherein GMAC sold certain student loans to NCF along with its rights
under the guaranty agreement with TERI. A true and correct copy of the Pool Supplement is
attached hereto as Exhibit C. Debtor’s Loan was included in this sale. See Ex. C, p.6. TERI’s
Guaranty was assigned to NCF. See Ex. C, p. 1, Article 1 & p. 3, Article 5.

27. Plaintiff paid a guaranty fee to TERI for her loan. See Ex. C, p.6.

28. The business records furnished by NCSLT show that on or about June 8, 2006,
after Plaintiff entered into her Loan, but prior to Plaintiffs last payment on the Loan, NCF and
NCSLT entered into a Deposit and Sale Agreement, wherein NCF sold the loans to National
Collegiate Student Loan Trust 2006-2, and transferred all of its rights and interests under the
Pool Agreement to NCSLT. A true and correct copy of the Pool Agreement is attached hereto as
Exhibit D. The transfer of rights and interests included NCF’s rights under the Guaranty
Agreement with TERI. See Ex. D, p.1, Sec. 3.02. The sale included all loans in Plaintiff's Loan
Program, the GMAC Bank Alternative Loan Program. See Ex. D, p.10, Schedule A.

29, The business records furnished by NCSLT show that on or about June 8, 2006,
after Plaintiff entered into her Loan, but prior to Plaintiffs last payment on the Loan,
Wilmington Trust Company, NCF and TERI entered into a Trust Agreement. A true and correct
copy of the Trust Agreement is attached hereto as Exhibit E. The Trust was set up primarily to

acquire, house and service the loans. See Ex. E, p. 16, Sec. 2.03 & p. 48, Schedule B. TERI’s

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obligation to purchase defaulted loans is recited. See Ex. E, p. 13 (“TERI Guaranteed Loans”
and “TERI Guaranty Agreements”).

30. The business records furnished by NCSLT show that on or about June 8, 2006,
after Plaintiff entered into her Loan, but prior to Plaintiff's last payment on the Loan, TERI, First
Marblehead Data Services, Inc. and National Collegiate Student Loan Trust 2006-2 entered into
a Deposit and Security Agreement. A true and correct copy of the Deposit and Security
Agreement is attached hereto as Exhibit F. Under the Agreement, NCSLT agrees to purchase all

loans in the GMAC Bank Loan Programs on the condition, in part, that TERI guarantees the

loans. See Ex. F, p.1, 2.

31. A Pledged Account was created by and for NCSLT 2006-2 under the Deposit and
Security Agreement. . See Exhibit F, p. 5, J 1 (e) & p.6 92. The Pledged Account was funded in
part by guaranty fees already paid on the loans being purchased and recoveries from collections
on defaulted Program loans that TERI was obligated to purchase under its Guaranty. See Ex. F,

pgs. 6-7, Sec. 2.
32. Once a Program loan defaulted and NCSLT submitted a valid claim, the Pledged

Account trustee would transfer funds from the Pledged Account to a Collection Account to pay
on the Guaranty. See Ex. F, p. 7,3 (a) & pgs. 14-15, Sec. 11(a)

33. Once TERI purchased a defaulted loan from the Trust, it collected on the loan

through an Administrator. See Ex. F, pgs. 12-13, Sec. 9(c).
34. Any recovery on collection then was paid to the trustee, who deposited it in the
Pledged Account, to be used to fund future guaranty payments. See Ex. F, pgs. 14-15, Sec. 11(b).

35. The Loan has not since been transferred or sold, and all right, title and interest

remains with National Collegiate Student Loan Trust 2006-2.

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36. I conducted a diligent search, have personal knowledge that TERI did indeed
purchase Loans from the GMAC Bank Undergraduate Loan Program, but was unable to find

decumentation to support my knowledge.

 

SWORN TO AND SUBSCRIBED BEFORE ME

 

  

 

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